USDC IN/ND case 1:10-cr-00050-DRL-SLC                document 37     filed 10/15/10     page 1 of 2


                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

 UNITED STATES OF AMERICA                        )
                                                 )
        v.                                       )    CASE NO.: 1:10-CR-50-TLS-2
                                                 )
 CORNELL FOWLKES                                 )

                ORDER ACCEPTING REPORT AND RECOMMENDATION
                         AND NOTICE OF SENTENCING

        This matter is before the Court on the Report and Recommendation of the United States

 Magistrate Judge [ECF No. 34] filed September 27, 2010. The Defendant has waived objection

 to the Report and Recommendation, and subject to this Court's consideration of the Plea

 Agreement pursuant to Fed. R. Crim. P. 11(c)(3), the plea of guilty of the offense charged in the

 Indictment, is hereby accepted, and the Defendant is adjudged guilty of such offense. The

 Defendant shall appear for sentencing on Thursday, January 13, 2011, at 10:00 AM before the

 Judge Theresa L. Springmann. Any sentencing memoranda or motions related to sentencing shall

 be filed no later than ONE WEEK prior to sentencing. A telephonic status conference regarding

 sentencing matters is set for Thursday, January 6, 2011 at 11:00 AM before Judge Theresa L.

 Springmann. The Court will initiate the call.

        SO ORDERED on October 15, 2010.

                                                 s/ Theresa L. Springmann
                                                 THERESA L. SPRINGMANN
                                                 UNITED STATES DISTRICT COURT
USDC IN/ND case 1:10-cr-00050-DRL-SLC              document 37       filed 10/15/10      page 2 of 2




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

 UNITED STATES OF AMERICA,                    )
                                              )
        v.                                    )        CASE NO.: 1:10-CR-50-TLS-2
                                              )
 CORNELL FOWLKES                              )

                               NOTICE OF SENTENCING
                          PRESENTENCE SCHEDULING NOTICE


        The above Captioned cause is hereby scheduled for sentencing on January 13, 2011, at

 10:00 AM Fort Wayne time before Judge Theresa L. Springmann. The attention


 of the parties is directed to the Presentence Scheduling Notice below.


  Date of Referral to Probation Officer:                             September 27, 2010
                                                                   (Date of Plea or Verdict)



  The Proposed Presentence Report Shall be Disclosed to
  Counsel no Later Than:                                              December 9, 2010
                                                                 (35 Days Before Sentencing)

  Counsel’s Written Objections or Acknowledgment of
  No Objections to the Pre-Sentence Report Shall be
  Delivered to the Probation Officer and Opposing
  Counsel no Later Than 14 Days After Disclosure.

  The Presentence Report Shall be Submitted to the Court
  and Disclosed to Counsel no Later Than:                              January 3, 2011
                                                                 (10 Days Before Sentencing)

  Judgment and Sentencing Date:                                           January 13, 2011
                                                                (At Least 70 Days After Plea or
                                                                           Verdict)
